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 1 PACIFIC TRIAL ATTORNEYS
   A Professional Corporation
 2 Scott J. Ferrell, Bar No. 202091
   sferrell@pacifictrialattorneys.com
 3 4100 Newport Place Drive, Ste. 800
   Newport Beach, CA 92660
 4 Tel: (949) 706-6464
   Fax: (949) 706-6469
 5
     Attorneys for Plaintiff
 6

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 8                              UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11   CHERYL THURSTON, an individual, and Case No. 5:17-cv-02183 JFW (SPx)
     on behalf of all others similarly situated,
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                   Plaintiff,                       [PROPOSED] STATEMENT OF
13                                                  DECISION
                   vs.
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     FCA US LLC, a Delaware limited liability Date: January 22, 2018
15   company; and DOES 1 – 10, inclusive,     Time: 1:30 P.M.
                                              Location: Courtroom 7A
16              Defendants.
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 1                                      Statement of Decision
 2         Before the Court is Defendant FCA US LLC (“Defendant”) Motion to Dismiss
 3   Plaintiff Cheryl Thurston’s (“Plaintiff”) Complaint (the “Motion”) (Dkt. No. 24). For the
 4   reasons set forth herein, Defendant’s Motion is denied.
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 6   I.    LEGAL STANDARD
 7         “Under Federal Rule of Civil Procedure 8(a)(2), a pleading must contain a ‘short and
 8   plain statement of the claim showing that the pleader is entitled to relief.’” Ashcroft v.
 9   Iqbal, 556 U.S. 662, 677-78, 129 S. Ct. 1937, 173 L. Ed. 2d 868 (2009). “[T]he pleading
10   standard Rule 8 announces does not require ‘detailed factual allegations,’ but it demands
11   more than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Id. at 678.
12   “To survive a motion to dismiss, a complaint must contain sufficient factual matter,
13   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Id. “A claim has
14   facial plausibility when the plaintiff pleads factual content that allows the court to draw the
15   reasonable inference that the defendant is liable for the misconduct alleged.” Id. “The
16   plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than a
17   sheer possibility that a defendant has acted unlawfully.” Id. Rule 8(a) of the Fed. R. Civ.
18   P. “simply calls for enough fact to raise a reasonable expectation that discovery will reveal
19   evidence” to support the allegations. Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556,
20   127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007).
21         “[F]or the purposes of a motion to dismiss [courts] must take all of the factual
22   allegations in the complaint as true.” Iqbal, 556 U.S. at 678. “All reasonable inferences
23   from the facts alleged are drawn in plaintiff’s favor in determining whether the complaint
24   states a valid claim.” The Rutter Group, Federal Civil Procedure Before Trial ¶ 9:213, at
25   9-82 (2011); Barker v. Riverside County Office of Education, 584 F.3d 821, 824 (9th Cir.
26   2009) (“we must draw inferences in the light most favorable to the plaintiff”) (citing
27   Scheuer v. Rhodes, 416 U.S. 232, 236, 94 S. Ct. 1683, 40 L. 2d. 2d 90 (1974)). “If there
28   are two alternative explanations, one advanced by defendant and the other advanced by

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 1   plaintiff, both of which are plausible, plaintiff’s complaint survives a motion to dismiss
 2   under Rule 12(b)(6).” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011). “Plaintiff’s
 3   complaint may be dismissed only when defendant’s plausible alternative explanation is so
 4   convincing that plaintiff’s explanation is im plausible.” Id. “The standard at th[e] [motion
 5   to dismiss] stage of the litigation is not that plaintiff’s explanation must be true or even
 6   probable.   The factual allegations of the complaint need only ‘plausibly suggest an
 7   entitlement to relief.’” Iqbal, 556 U.S. at 681.
 8         A.     Plaintiff Has Sufficiently Pled An Injury In Fact and Ongoing Deterrence
 9                Sufficient to Support Her Request for Injunctive Relief.
10         “Standing to sue is a doctrine rooted in the traditional understanding of a case or
11   controversy.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016). The law of Article III
12   standing “require[s] plaintiffs to allege such a personal stake in the outcome of the
13   controversy as to justify the exercise of the court’s remedial powers on their behalf.” Town
14   of Chester v. Laroe Estates, Inc., 137 S. Ct. 1645, 1651 (2017) (alterations and internal
15   quotation marks omitted). In doing so, the “standing doctrine serves to prevent the judicial
16   process from being used to usurp the powers of the political branches,” Clapper v. Amnesty
17   Int’l USA, 568 U.S. 398, 408, 133 S. Ct. 1138 (2013), thereby ensuring that “the Federal
18   Judiciary respects the proper—and properly limited—role of the courts in a democratic
19   society,” DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 341, 126 S. Ct. 1854 (2006)
20   (internal quotation marks omitted).       The Supreme Court’s cases establish that the
21   “irreducible constitutional minimum” of standing consists of three elements. Lujan v.
22   Defenders of Wildlife, 504 U.S. 555, 561, 112 S. Ct. 2130 (1992). The plaintiff must have
23   “(1) suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of the
24   defendant, and (3) that is likely to be redressed by a favorable judicial decision.” Spokeo,
25   136 S. Ct. at 1547.
26         When an injunction is sought, the moving party must also show a continuing threat
27   of injury. Friends of Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180–
28   81, 120 S. Ct. 693 (2000). To merit injunctive relief, a plaintiff must demonstrate that he

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 1   suffers the threat of an “‘injury in fact’ that is concrete and particularized; the threat must
 2   be actual and imminent, not conjectural or hypothetical; it must be fairly traceable to the
 3   challenged action of the defendant; and it must be likely that a favorable judicial decision
 4   will prevent or redress the injury.” Summers v. Earth Island Inst., 555 U.S. 488, 493, 129
 5   S. Ct. 1142 (2009) (citation omitted).
 6         “At the pleading stage, general factual allegations of injury resulting from the
 7   defendant’s conduct may suffice, for on a motion to dismiss we ‘presum[e] that general
 8   allegations embrace those specific facts that are necessary to support the claim.’” Lujan,
 9   504 U.S. at 561; Young America Corp. v. Affiliated Computer Servs. (ACS), Inc., 424 F.3d
10   840, 843 (8th Cir. 2005) (“In assessing whether the plaintiff has alleged a sufficiently
11   particularized and concrete injury, the court must accept all factual allegations in the
12   complaint as true and draw all inferences in the plaintiff’s favor.”).
13         “The Supreme Court has instructed [courts] to take a broad view of constitutional
14   standing in civil rights cases, especially where, as under the ADA, private enforcement
15   suits ‘are the primary method of obtaining compliance with the Act.’” Doran v. 7-Eleven,
16   Inc., 524 F.3d 1034, 1039-40 (9th Cir. 2008) (citing Trafficante v. Metro. Life Ins. Co., 409
17   U.S. 205, 209, 93 S. Ct. 364 (1972)).
18         A “personal encounter” with an accessibility barrier is not a requirement to establish
19   Article III standing to sue for a cause of action arising under the ADA. Civil Rights Educ.
20   and Enforcement Center v. Hospitality Props. Trust, 867 F.3d 1093, 1100 (9th Cir. 2017)
21   (“we reject [defendant’s] invitation to create a bright-line predicate of a ‘personal
22   encounter’ with a barrier to access as a requirement for standing under ADA Title III.”).
23   “[W]hen a plaintiff who is disabled within the meaning of the ADA has actual knowledge
24   of illegal barriers at a public accommodation to which he or she desires access, that plaintiff
25   need not engage in the ‘futile gesture’ of attempting to gain access in order to show actual
26   injury . . . .” Pickern v. Holiday Quality Foods Inc., 293 F.3d 1133, 1135 (9th Cir. 2002)
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 1   (quoting 42 U.S.C. § 12188(a)(1) (emphasis added).1 “So long as the discriminatory
 2   conditions continue, and so long as a plaintiff is aware of them and remains deterred, the
 3   injury under the ADA continues.” Id. at 1137 (emphasis added); id. at 1138 (“We hold that
 4   a disabled individual who is currently deterred from patronizing a public accommodation
 5   due to a defendant’s failure to comply with the ADA has suffered ‘actual injury.’ Similarly,
 6   a plaintiff who is threatened with harm in the future because of existing or imminently
 7   threatened non-compliance with the ADA suffers ‘imminent injury.’”).
 8         Here, Plaintiff has alleged more than mere knowledge of illegal barriers on
 9   Defendant’s website – she has alleged several personal encounters, thus establishing past
10   injury. Id. at 1137; Cmpl. at ¶¶ 1, 6, 16, 19, 20, 38, 39, 44.
11         Additionally, Plaintiff has alleged that the barriers that continue to remain on
12   Defendant’s website cause ongoing deterrence to Plaintiff and the proposed Class from
13   visiting both Defendant’s website and brick and mortar locations. (Cmpl. ¶6). “The ADA
14   plaintiff can show a likelihood of future injury either “when he [or she] intends to return to
15   a noncompliant accommodation and is therefore likely to reencounter a discriminatory
16   barrier” or “when discriminatory architectural barriers deter him [or her] from returning to
17   a noncompliant accommodation.” Brooke v. Capitol Regency LLC, 2:16-CV-02070-JAM-
18   EFB, 2017 WL 2165866, at *1 (E.D. Cal. May 17, 2017) (quoting Chapman v. Pier 1
19   Imports, Inc., 631 F.3d 939, 946 (9th Cir. 2011)). By alleging ongoing deterrence caused
20   by the accessibility barriers actually experienced by Plaintiff, Plaintiff establishes her intent
21   to return sufficient to satisfy the pleading requirements for standing. (Cmpl. ¶¶ 6, 20).
22         B.     Plaintiff’s Public Accommodation Allegations Are Plausible.
23         The ADA’s Title III mandate specifically states, “No individual shall be
24   discriminated against on the basis of disability in the full and equal enjoyment of the goods,
25   services, facilities, privileges, advantages, or accommodations of any place of public
26   accommodation by any person who owns, leases (or leases to), or operates a place of public
27   1
      42 U.S.C. § 12188(a)(1), governing enforcement of Title III claims, provides that
   “[n]othing in this section shall require a person with a disability to engage in a futile gesture
28 if such person has actual notice that a person or organization covered by this subchapter
   does not intend to comply with its provisions.”
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 1   accommodation.” 42 U.S.C. § 12182(a) (emphasis added); 28 C.F.R. § 36.201(a); see
 2   National Federation of the Blind v. Target Corp., 452 F. Supp. 2d 946, 953 (N.D. Cal.
 3   2006) (“The statute applies to the services of a place of public accommodation, not services
 4   in a place of public accommodation. To limit the ADA to discrimination in the provision
 5   of services occurring on the premises of a public accommodation would contradict the plain
 6   language of the statute.”) (emphasis added); National Association of the Deaf v. Netflix,
 7   Inc., 869 F. Supp. 2d 196, 201 (D. Mass. 2012) (“The ADA covers the services ‘of’ a public
 8   accommodation, not services ‘at’ or ‘in’ a public accommodation.”); National Federation
 9   of the Blind v. Scribd Inc., 97 F. Supp. 3d 565, 567-76 (D. Vt. 2015
10         The Ninth Circuit in Weyer declined to explicitly hold that websites, alone, are places
11   of public accommodation. However, the Ninth Circuit interpreted the ADA statute as
12   requiring “some connection between the good or service complained of and an actual
13   physical place is required.” Id. at 1114.
14         Here, Plaintiff alleges that Defendant’s website is “integrated” with places of public
15   accommodation and functions as a gateway thereto. (Cmpl. ¶ 7; see also ¶¶ 1, 5, 12, 13,
16   17, 28.) Plaintiff additionally alleges by visiting fiatusa.com, users can gain specific
17   information about the locations where Defendant’s products are sold, specifically and
18   exactly which of Defendant’s products are at each location listed on Defendant’s website,
19   pre-shop for the specific product they want such that the consumer may determine at which
20   location the product may be viewed and purchased, and schedule a test drive at specific
21   locations, all via Defendant’s website.
22         The distinction Defendant draws between manufacturer vs. dealer/retailer is
23   insufficient to overcome the nexus pled by Plaintiff between the applicable website and the
24   places of public accommodation based on the Ninth Circuit’s holding in Weyer.
25         The Ninth Circuit held in Weyer that “some connection between the good or service
26   complained of and an actual physical place is required.” Id. at 1114. “[T]he legislative
27   history of the ADA makes clear that Congress intended the ADA to adapt to changes in
28   technology.” National Ass’n of the Deaf v. Netflix, Inc., 869 F. Supp. 2d 196, 200-01 (D.

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 1   Mass. 2012) (quoting H.R. Rep. 101-485(II), at 108 (1990)) (“the Committee intends that
 2   the types of accommodation and services provided to individuals with disabilities, under
 3   all of the titles of this bill, should keep pace with the rapidly changing technology of the
 4   times.”).2
 5         The cases upon which Defendant attempts to rely for its agency theory argument are
 6   distinguishable and inapplicable in this instance. For example, footnote 7 from S. Bay
 7   Creditors Tr. v. Gen. Motors Acceptance Corp., 69 Cal. App. 4th 1068, 1077 (Cal. App.
 8   4th Dist. 1999) explicitly dealt with section 3000 et seq. of California’s Vehicle Code and
 9   its purpose of the 1973 amendment thereto “to assist independent new car and motorcycle
10   dealers by preventing ‘undue control’ by vehicle manufacturers. [Citation.]” (citing Miller
11   v. Superior Court, supra, 50 Cal.App.4th at p. 1668, fn. 2.). That case had nothing to do
12   with the relationship between a disabled consumer being unable to fully and equally access
13   a manufacturer’s products, much less the nexus requirements between places of public
14   accommodation and the services offered to gain access thereto.
15         Similarly, George Williams et al. v. Yamaha Moto Corp., U.S.A., CV-1305066-
16   BRO-VBKX, 2015 WL 13626022, at *6 (C.D. Cal. Jan. 7, 2015) is likewise distinguishable
17   because there the “third-party beneficiary exception” to the privity requirement was at issue
18   regarding Yamaha products manufactured by the defendant but sold by its retailers.
19   Expectedly, the court concluded that “plaintiffs must do more than simply allege that they
20   are third-party beneficiaries. Rather, they must allege facts from which the Court could
21   conclude that they enjoy such status.” 2015 WL 13626022, at *6. Plaintiff’s Complaint
22   takes no issue with the retailers of Defendant’s products advertised on its website. Plaintiff
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       The DOJ’s preamble to its 1991 Title III regulations stated that the regulations should be
25   interpreted to keep pace with “emerging technology.” 56 Fed. Register 35544-01, 35566
     (July 26, 1991). “New technology presents risks as well as opportunities; we must now
26
     allow fear of the former to deprive us of the latter.” Baughman v. Walt Disney World Co.,
27   685 F.3d 1131, 1137 (9th Cir. 2012) (reversing the district court’s granting of the
28   defendant’s motion for summary judgment in an ADA case seeking the modification of a
     policy prohibiting the use of a Segway at Disneyland).
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 1   makes no allegations about the accessibility at the dealers’ physical locations. Plaintiff’s
 2   allegations are limited to Defendant’s inaccessible website and the nexus to places of public
 3   accommodation where Defendant’s products are admittedly sold.
 4          Likewise, Acedo v. DMAX, Ltd., 2015 WL 12696176,*28 (C.D. Cal. 2015) is not
 5   helpful to Defendant’s position because the portion of the opinion upon which Defendant
 6   relies related explicitly to the Michigan Motor Vehicle Service Repair Act, Mich. Comp.
 7   Laws § 257.1307 where only “motor vehicle repair facilities” are subject and the defendant
 8   manufacturer could not be subject thereto. This case is factually distinguishable because
 9   Plaintiff is not attempting to apply the state-specific law at issue in Acedo, and likewise is
10   not relying on the agency theory presented therein. Rather, Plaintiff is attempting hold
11   Defendant accountable for its own allegedly inaccessible website.
12          Lastly, in Herremans v. BMW of N. Am., LLC, No. CV 14-02363 MMM PJW(x),
13   2014 WL 5017843, *6 (C.D. Cal. Oct. 3, 2014) the court rejected the plaintiff’s contention
14   “that an authorized dealer is an agent of BMW, and thus its statements can be attributed to
15   the manufacturer.” Here Plaintiff makes no allegations against the dealership/retailers’
16   physical locations, or to any party other than Defendant. Indeed, as Plaintiff alleges in her
17   Complaint, Defendant is allegedly liable for its own allegedly inaccessible website.
18          The issue is not whether there is an agency relationship between Defendant and its
19   dealers. Plaintiff does not allege any necessary agency between the manufacturer and
20   retailer for the products sought. Instead, the issue raised by Plaintiff lies in Defendant’s
21   allegedly inaccessible website and the alleged nexus between it and the places of public
22   accommodation where Defendant’s products are sold. As such, Plaintiff has alleged a
23   plausible claim for relief at this stage.
24          C.    Plaintiff Sufficiently Alleges An ADA Cause of Action and as Such, Does
25                Not Need To Plead Intentional Discrimination Under the Unruh Act.
26          Plaintiff bases her cause of action for Defendant’s violations of the Unruh Act upon
27   Defendant’s alleged similar violation of the ADA: “Defendant is also violating the Unruh
28   Civil Rights Act, California Civil Code § 51 et seq. in that the conduct alleged herein

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 1   likewise constitutes a violation of various provisions of the ADA, 42 U.S.C. § 12101 et
 2   seq. Section 51(f) of the California Civil Code provides that a violation of the right of any
 3   individual under the ADA shall also constitute a violation of the Unruh Civil Rights Act.”
 4   (Cmpl. ¶ 45).
 5         As the Ninth Circuit has held, if an Unruh Act claim is premised upon an ADA
 6   violation, “no showing of intentional discrimination is required . . . .” Lentini v. California
 7   Ctr. for the Arts, Escondido, 370 F.3d 837, 847 (9th Cir. 2004). “This result is mandated
 8   by the plain meaning of the Unruh Act’s language, which states that a violation of the ADA
 9   is, per se, a violation of the Unruh Act.” Id. (referencing Biehl v. C.I.R., 351 F.3d 982, 986
10   (9th Cir. 2003)).
11         Therefore, and because Plaintiff adequately pled her ADA cause of action, Plaintiff
12   need not allege intentional discrimination on the part of Defendant.
13         Based on the foregoing reasons, Defendant’s Motion is denied.
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15   Dated:
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18                                               The Honorable John F. Walter
                                                   Judge for the District Court
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 1                             CERTIFICATE OF SERVICE
 2         I hereby certify that on January 8, 2018, I electronically filed the foregoing
 3   [PROPOSED] STATEMENT OF DECISION with the Clerk of the Court using the
 4   CM/ECF system which will send notification of such filing via electronic mail to all
 5   counsel of record.
 6
                                  /s/ Scott J. Ferrell
 7                                Scott J. Ferrell
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